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                                     Administrative Board: Disciplinary Process
                                     for allegations involving a peer dispute


        Complainant submits a written                            The Secretary of the Administrative Board notiﬁes the respondent
        statement to the Secretary of the                        of the allegation. The respondent prepares a written statement
        Administrative Board                                     responding to the allegation




                                                                 The Students review each other’s statements and respond in writing
What is a charge?                                                to the Secretary
A charge is the decision by the Board to pursue a
case against the respondent

A Charge is issued if...
1. The behavior alleged is a violation of the rules              If appropriate, a fact ﬁnder is appointed by the Dean the College.
   of the Faculty of Arts and Sciences; and                      The fact ﬁnder and a Subcommittee of the Board meet with the
2. There is additional information that can be                   Students, and may pursue other sources of information
   obtained by the fact finder and subcommittee
   through investigation

A charge recommendation doesn’t mean that
anyone is at fault, just that there is enough
information to for the Administrative Board to                   The Subcommittee issues a charge recommendation. The full
hear the case. The fact finder will pursue other                 Administrative Board reviews the charge recommendation and
information about the case and interview people                  decides whether to issue a charge in the case
who were referred by the complainant and the
respondent

When reviewing the charge recommendation, the
Board will take one of three actions:                            If a charge has been issued, the fact ﬁnder leads a full investigation
1. Issue a charge and refer the matter back for                  of the case at the direction of the Subcommittee
   further investigation;
2. Bracket, or postpone, the decision for additional
   specific information; or
3. Decline to issue a charge and not pursue a
   case against the respondent unless additional                 The Subcommittee receives all materials and meets with the
   evidence comes to light                                       Students. The fact ﬁnder and the Subcommittee write a Disciplinary
                                                                 Case Report (DCR) that is sent by the Secretary to the Students




             The fact finder is ordinarily an                    The Complainant and the Respondent submit a written response to
           independent constultant with                          the DCR to the Secretary
           conflict resolution experience hired
           by the College.


            Student will be notified by the
                                                                   All materials are sent to the full Administrative Board, which
           Resident Dean of the decision of
                                                                   meets and decides the outcome
           the Board.


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